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                      UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF WISCONSIN
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       In Re: Jennifer & Israel R. McKinney               Bankruptcy No.22-11558-13

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                           ORDER CONFIRMING PLAN
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        The debtor’s plan filed on 10/21/2022 (if appropriate, as amended on 2/22/2024 ) having
been transmitted to the creditors; and the plan complies with the provisions of Chapter 13 and with
other applicable provisions of Title 11 U.S.C.; and any fee, charge, or amount required under
Chapter 13 of Title 28, U.S.C., or by the plan, to be paid before confirmation, has been paid; and
    It having been determined after hearing on notice:
1) The plan has been proposed in good faith and not by any means forbidden by law; and
2) The value, as of the effective date of the plan, of property to be distributed under the plan on
    account of each allowed unsecured claim is not less than the amount that would be paid on
    such claim if the estate of the debtor were liquidated under Chapter 7 of Title 11 U.S.C. on
    such date; and
3) With respect to each allowed secured claim provided for by the plan -
    a) The holder of such claim has accepted the plan;
    b) The plan provides that the holder of such claim retain the lien securing such claim; and
    c) The value, as of the effective date of the plan of property to be distributed under the plan on
        account of such claim is not less than the allowed amount of such claim; or
    d) The debtor surrenders the property securing claims to such holder; and
4) The debtor will be able to make all payments under the plan and to comply with the plan;

IT IS ORDERED THAT:
       1. The debtor’s plan (if appropriate, as amended) is confirmed.
       2. The plan requires payments starting 10/27/2022 $10000.00 per month
         1/27/2023 $15000.00 per month
         1/27/2025 $21000.00 per month
         7/27/2026 $26000.00 per month
        and to continue thereafter until further ordered, payable to the Trustee, Mark Harring, at
       MARK HARRING CH 13 TRUSTEE P.O. BOX 88004 CHICAGO, IL 60680-1004.
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